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 1 BENJAMIN B. WAGNER
   United States Attorney
 2 MICHAEL D. McCOY
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                            IN THE UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:12-CR-0432 JAM
12                               Plaintiff,               STIPULATION REGARDING
                                                          EXCLUDABLE TIME PERIODS
13   v.                                                   UNDER SPEEDY TRIAL ACT;
                                                          FINDINGS AND ORDER
14   ARTURO GONZALEZ-MORAN,
         aka Isabel Gallardo, and
15   GILBERTO LORENZO-LUVIO,
16                               Defendant,
17

18

19                                            STIPULATION

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21         It is hereby stipulated between the parties, Michael D. McCoy, Assistant United States

22 Attorney, Benjamin D, Galloway, Assistant Federal Defender, attorney for defendant Arturo

23 Gonzalez-Moran, and Patrick K.M. McCarthy, attorney for defendant Gilberto Lorenzo-Luvio, as

24 follows:

25         1.      By previous order, this matter was set for a status conference on February 12, 2013.

26         2.      By this stipulation, the parties move to continue the status conference until March 19,

27 2013 at 9:45 a.m., and to exclude time between February 12, 2013, and March 19, 2013, under Local

28 Code T4.
                                                      1
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 2         3.      The parties agree and stipulate, and request that the Court find the following:

 3                 a.     Initial discovery was provided to the defense at the time of the defendants’

 4                        arraignment. Recently, the government provided additional discovery to the

 5                        defense in response to a supplemental discovery request. Moreover, the

 6                        government anticipates providing additional discovery to the defense within

 7                        the next week.

 8                 b.     The defense will need time to review this discovery, engage in additional

 9                        research and investigation, discuss potential resolutions with their clients,

10                        prepare pretrial motions, and/or otherwise prepare for trial.

11                 c.     Counsel for both defendants believe that failure to grant the above-requested

12                        continuance would deny them the reasonable time necessary for effective

13                        preparation, taking into account the exercise of due diligence.

14                 d.     The government joins in the request for the continuance.

15                 e.     Based on the above-stated findings, the ends of justice served by continuing

16                        the case as requested outweigh the interest of the public and the defendants in

17                        a trial within the original date prescribed by the Speedy Trial Act.

18                 f.     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §

19                        3161, et seq., within which trial must commence, the time period of February

20                        12, 2013, to March 19, 2013, inclusive, is deemed excludable pursuant to 18

21                        U.S.C.§ 3161(h)(7)(A), (B)(iv) [Local Code T4] because it results from a

22                        continuance granted by the Court at the defendants’ request on the basis of the

23                        Court's finding that the ends of justice served by taking such action outweigh

24                        the best interest of the public and the defendant in a speedy trial.

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 2         4.      Nothing in this stipulation and order shall preclude a finding that other provisions of

 3 the Speedy Trial Act dictate that additional time periods are excludable from the period within which

 4 a trial must commence.

 5 IT IS SO STIPULATED.

 6

 7 DATED:          February 8, 2013

 8                                        /s/ Michael D. McCoy
                                          MICHAEL D. McCOY
 9
                                          Assistant United States Attorney
10

11 DATED:          February 8, 2013
12

13                                        /s/ Benjamin D. Galloway
                                          BENJAMIN D. GALLOWAY
14                                        Assistant Federal Defender
                                          Counsel for Defendant ARTURO GONZALEZ-MORAN
15                                        Per e-mail authorization
16

17                                        /s/ Patrick K.M. McCarthy
                                          PATRICK K. M. McCARTHY
18                                        Assistant Federal Defender
                                          Counsel for Defendant GILBERTO LORENZO-LUVIO
19                                        Per e-mail authorization
20

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22
                                                 ORDER
23

24         IT IS SO FOUND AND ORDERED this 8th day of February, 2013.
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26                                        /s/ John A. Mendez_________________________
                                          JOHN A. MENDEZ
27                                        UNITED STATES DISTRICT COURT JUDGE

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